Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 1 of 64

W`\\|iam Vanar$de“

Exhibit No. 5

For \dentif\cation

1013/1a CM

Safety Restraint E)<amination

cRAsH TEAM " v
* *
"'\ " x '<\

Oé`b`;`" ' Y.O"*

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 2 of 64

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 3 of 64

 

Wty \\.°’Am hei$?°.`} 0le ,Ip 0'¢0'
\CM Rq¢.¢ MSD\JO-\°E w 368°9
N- S\N~v”¢ql\lonmwev 80 v\e¢vnl* ¢¢.Q¢..mq

STATE OF MlCH|GAN TRAFF|C CRASH REFQRT “E°é"md`”`°"

anMMUtII. lim
zzLA-smchsFoRo (999¢2>

T C~¢\
01 07 01 m . c°"' s:‘“:¢u 9 warsaw 2 cnw
1'¢\¢ conn now v henry w
NO'\€ $hOUkk' 10 - NON-FRWV Sl'”l( may
wm Zm¢ m annum 1a w L.¢
"" 03 50 V¢$

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

had kuhn

WOODWARD
Yr»¢\< way knoqu
02~0~\0edl-Mywo/bame¢ Osromu_pansalcomro|

burr Dmno¢l~tuq

m hat
BlG BEAVER RD

 

 

S\_ bon-mw D-d.¢’q».m m?po fm 'uaom¢um\mw
mm ‘ .

¥es Ml 07/2:\/1991 1191 few-v §§:;: 01 16 Care\ess/neghgem

f`\ho~d Onmno\

0'\1?'¢ *WI~I\” ~vy rhone- 'L\t~l ‘~o¢¢ul

.MM 01 04 W|LL|AM BEAUMONT HOSP{TAL

window
BLOOMFlELO HlLLS. M148304»3554 wm m_o¢¢¢

w AMo¢¢vp¢ mm
35 00 o,' 01 co soc lNo ¥e$ BLOOMF|ELDTWPF|RE DEP¥

Cman‘-M

GNM OWM "¢ln-h 3"\ .'\c ’~\¢.M nw

OF.V -J\nm 3m 3m hqua Cltoo¢ Oumn
mau$¢ql mbh lia~v¢-¢u
WM

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

UN|YIDR|VER

wm mn 1a vv-¢: 1a

°""'°" \ERC\JRV 2®3 Passengef Cx
m ma l>~z m
°“**¢' 7 No 01 - Go\ng Sim Ahead

 

 

 

 

 

 

 

 

 

 

lam

inv hard
Od-Rmomoam¢ay~nm\ 039-dee
r.MMOS'MM~M)

 

 

CaS€ 1217-CV-12462-WGY

Document 95-7

Filed 01/11/19 Page 4 of 64

 

 

Road Type
AVE

Divided Roadwz

 

Trafflc Way
02 - Divided Hwy wo/barrier

Access Control

03 - Other, partial control

 

Road Type
RD

Divided Roasz

 

 

 

Date of Birth (Age)
07/23/1991 (19) ¢ Operaror

License Type

O Chauffer
O Moped

 

Endorsements Tota| Occupants

O Cycle
O Farrn

0 Recreation

01

 

 

 

Hazardous Action

16 - Careles

 

-)###-#M

lnjury Position

A 01

 

Restraint

04

Hospital

WlLL|AM BEAUMONT HOSP|TAL

 

|nter|ock

No

 

 

Ejected

Yes

 

Trapped Airbag Dep|oyed

 

Ambu|ance

BLOOMF|ELD TWP F|RE DEPT

 

Test Results

Drugs
O Yes 0 No
Test Type 0 Blood

 

O Urine

Citation lssued

Test Results 0 Hazardous O

 

 

 

Towed To/By

c

 

Special Vehic|es Private Trai|el

 

 

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 5 of 64

The value entered here iS the 1`/1\1’@5'!1'§¢1!()1'.'x' opinion

 

 

~ Occupant`S Statement

mmc way access ;omwr
02 - D\v\ded Hwy wo/bamer 03 - Omer. pania\ control

:.°;~»¢ S~ ~ WitneSS’S Statement

 

 

 

 

 

 

Daeo€sm\»gev Ll r, 1 mz-'.\cmpams H m A
Hospnm E D l ,\
WlLL|AM BEAUMONT HOSP|TAL

 

 

 

 

 

~"»“-TW Physical evidence

 

 

Cl!avon \ssuod
Tesl Resuns 0 Haznmnus

 

vl:cw~»w `I nj u ry pattern

‘/emcle Tyve

 

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 6 of 64

Choiees, Choiees

B£!ll:illlt

No belts available

Shoulder belt only used

Lap belt only

Shoulder and lap belt used

No belts used

Chlld restraint used

Child restraint not used, not available or

improper
Restratnt failure
Restraint use unknown

H£|m!.\

Helmet worn
Helmet not worn
Helmet use unknown

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 7 of 64

Event Data Reeorder

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 8 of 64

Two l\/Iethods to Download Date

Througlt the vehicles Diagnostie Linl< Detector (DLC)

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 9 of 64

Direet to the airbag module

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 10 of 64

The Gn|y VVays To Un|atch a Buck|e |n A Crash

~ O\/ERLOAD
|NAD\/ERTENT CONTACT
FALSE |_ATCH
PART|A\_ ENGAGEI\/|ENT
|NERT|AL RELEASE

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 11 of 64

l<novving that seatbelt buckles can unlatch in a crash, it is
incumbent on any type of investigator to conduct a thorough
seatbelt investigation before concluding a person Was belted
or unbelted When an crash began. l-lovvever, this isn't always
done.

ln fact, oftentimes, people jump to a conclusion that a person
vvas unbelted When they see or learn that a person vvas
ejected from the vehicle during a motor vehicle crash.

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 12 of 64

“UNBUCKLED” STATUS IS SOl\/|ETll\/lES VVRONG”

lt someone relies exclusively on the sensing diagnostic
module (SDl\/l) data retrieved from the vehicle's
onboard computer, they may be relying on flawed data.
The NHTSA has uncovered hundreds of accidents
Where the SDl\/l indicated the ejected person Was in fact
"buckled.”

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 13 of 64

z mix

Votic_l_o looptltlc;ion Numb¢ ;
_"l‘i‘_!°l'_*§’. t. . ..,l°_’?!'."____m

_Case _Numbor__ ____ _ ________ _ w __ _ _____ __
lm_¢ot§a_t.\o__l)ato__ __ _____ 0“2§“0&02

____ Cro_sn _O_lte

"~°5"_*§".. . "_jj' ao~mmxc` z;iji'_ii,c'o§"~°f3

 

 

S¢\___lod on __l m“)l. lOFM
Ootl chec!ir'ormatzcn _ _ _ __ _ Md(§€?l _ ____
_Q_DR_ version M_` l CrnhDoti _v_\_l _lg_d_ _1200: l
°r§si'!m_ "?l¢§~il*°?\_réi_)m€'! 9‘603€51

"`i¥....\.'... _~'."»~.'

q 'rA
%Vetronix ”s? w

' pW pmm ~' w summon Sv»sea C>.':ult Swm $lw

WCFT"NWD'PW“'“‘ §__:._` f`~. ,,…__"_" f " " _'5517,
fl

1520
§§ w m 557 Roc<xooo _¢\_/:_TocTty Cho¢go`(muq q_“_ -~“~: ' w ' 575
mv¢w, c»'»»;,~¢_ g,§;> -,. _ _ § 1172

 

 

Case 1:17-cv-12462-WGY Document 95-7

Filed 01/11/19 Page 14 of 64

Physical Evidence

lndlcatlons of a head injury

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 15 of 64

There have been crashes reported Where the
decedent Was still found be|ted inside his vehicle
and the EDR download indicated "unbucl<led."
Still other reported accidents had the decedent
elected from his vehicle When the seat collapsed
rearvvard, and yet the buckle Was still latched but

the EDR dovvnload indicated "unbucl<led.“

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 16 of 64

Some, crash investigators have concluded that
people are unbe|ted When they are ejected or
displaced from their reported seating position
inside the vehicle.

dumping to a conclusion Without evaluating any of

the physical, medical or forensic evidence is a
rather close-minded and shallow methodology ln
fact, it is no methodology at al|.

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 17 of 64

SOl\/lET|l\/lES SEATBELT US/-\GE E\/lDEl\lCE
lS \/ERY OB\/|OUS SUCH Tl-l/-\T THERE ARE
"TR/-\DlT|ONAl_" \/\/|TNESS l\/|ARKS

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 18 of 64

Retractorjammed vvith Webbing extended

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 19 of 64

Retractor frame damaged When seatbe|t load is applied

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 20 of 64

lmprint of the vvebbing in plastic coated parts of
the restraint such as the latch plate or D-ring_
There is often a corresponding transfer of plastic to
the Webbing_

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 21 of 64

Torn or broken seatbelt \/vebbing due to overload or
a sharp surface

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 22 of 64

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 23 of 64

\, :PI»
:...e

/ latch plate on

g
n
n

Plastic transfer from D

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 24 of 64

VVebbing curled. (Also often called "cupping")
This is caused from occupant loading

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 25 of 64

D-ring fractured due to loading

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 26 of 64

Seatbelt buckle stalk is deformed due to
loading

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 27 of 64

"\‘. ~ 'mi"\,' ‘;{
lj=f\\i~;‘.\\.' l 'i_¢\…i.
ii'm~.'.~ .…

"'?~i' \i'i

l_atch plate fractured due to loading

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 28 of 64

Friction marks may bc visible

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 29 of 64

Airbag deployment prevented loading

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 30 of 64

lnj ury Patterns

 

 

 

 

External lnjuries

Chost injuries

Patchy abraslons and
rple contuslons lnvolve
ner up and lower

quadran of left breast

angle from let neck base
across left supraclavlcular
loses and left clav|cle across
left breast. across rnld

Dlsaended with horizontal
abraslon or left

and v cal
s tons of lateral right
upper quadrant.

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 31 of 64

Facr'al Injun'es

Contu_slon of left lntraorbltal ridge
Abrasion of right forehead
Abraslon of dam eyelld
A'braslons to ght side of

ace

Left Shoulder
deep brownish-black
abraslons ov ing
the anterior a non
latent aspects o
shoulder and base
of the neck

l
LeftForoarm

Purple contusiona.
red abrasions and
deep lacerations

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 32 of 64

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 33 of 64

injury marks may not always be 1 % inches

- ln crashes where there are multiple components such
as a frontal, then a side slap followed by a rollover, it is
not uncommon for the bruises to be much wider than the
seatbelt due to occupant movement

' lf the seatbelt folds, as it often does at the neck, or
across the lap, the bruise or belt abrasions may be
much narrower than the webbing.

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 34 of 64

Any determination of seatbelt use should also evaluate
the absence of injuries to the individual whose belt use
is being evaluated

am Lack of injuries

No abrasions. contusions
or bruising

Right Side Face

No multiple facial fractures and/or
nasal fractures

No dental damage

No law fractures

No glass “dicing" injuries

Right Shoulder
No right side bruises or
abrasions

Neck

No cervical bony fractures

No neck soft tissue or
ligamentous injuries

Respiratory

No aorta. heart or
respiratory damage

No deceieration injury

Cranial

No epldural or subdural
hemorrhage

No deceleration injury

Left Slde Face

No multiple facial fractures

and/or nasal fractures

No dental damage

No law fractures

No abrasions, bruises or
lacerations

` No glass "diclng" injuries

No lower torso injuries
No injuries to tibla, shins,
ankles and feet

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 35 of 64

LACK OF lNJUR|ES

Any determination of seatbelt use should also
evaluate the absence of injuries to the individual
whose belt use is being evaluated

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 36 of 64

lnvestigate, Test and Document

First_ determine where the webbing goes into the trim such that the
webbing is not exposed to the crash environment when not worn_

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 37 of 64

l\/leasured position of a "Stowed Belt" where the belt
enters the protected area inside the trim.

Second, inspect the seatbelt webbing at all areas below
this measurement point. The photograph below shows
that no piece of evidence is too small that is placed on the
evidence board

 

 

M "~={_=f_
115 er 1
....... v :E_~.; _*’

Tmui"s'iws'r~;!ssuunuuuusa¢nrrnn'r'"'i'izl"; giles T'"'s'rssisu'rssssssnnnunuK?AW§W-m~i§-M

. / .

_::_t i x' !v 1 i ' 1 ~‘}'
1 1 r
t l uhf . _ ..

 

 

 

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 38 of 64

One way to document the location of belt evidence
found beyond the trim panel stow point is to focus
solely on the areas of the seatbelt webbing that
would have been below the point where the webbing
goes into the trim. lf the seatbelt was not being worn
when the accident began, there is little chance that

damage to the seatbelt webbing beyond the trim
panel stow point could happen

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 39 of 64

Third. document every mark. cut, dirt/stain, pulled fiber, cupped fiber
and damage to the webbing on the label side and non-label side of the
belt from l inch to the end of the belt. The technician should then
transfer each cut, dirt/stain pulled fiber, cupped fiber and observation
of webbing damage onto an evidence board The best way to
accurately and thoroughly document the webbing evidence is to
remove the belt and lay it out on a prepared board that has a

measuring tape and illustrates the same number of webbing panels as
the actual webbing.

Second. inspect the seatbelt webbing at all areas below this
measurement point The photograph below shows that no piece of
evidence is too small that is placed on the evidence board

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 40 of 64

SURROGATE STUDY- CORRELAT|NG PHYS|CAL
E\/lDENCE TG l\/lEDlCAL E\/|DENCE

Using a surrogate the same height, weight and waist
size as the individual being evaluated, determine where
all physical belt evidence that has been transferred
onto the seatbelt evidence board matches up on the

surrogate's body

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 41 of 64

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 42 of 64

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 43 of 64

 

Cuppmg

3112in.
Blackish
Maferial

 

 

 

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 44 of 64

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 45 of 64

Lack of injury
Lefr Side Face

No land fractures
motor nasd hacaares

No dental damage

No par fractures

No abramns. bruises or
lacerations

No hp or tongue implies

 

Lack of injury
Right Side Face

No bcia| futures
andior nasd fractures

No dend damage

No psr fractures

No abrasions. or
laceratans

Nohpor\onquelnpnes

 

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 46 of 64

 

Lack of injury

Hrps, Knees,
Fomurs_ Lower Leqs

No pelvic fracture
No tracmre of
- femur

No dbla fractures

No injuries
consistent wm
stemming lnlo seat

No lower leg injuries

 

"` Knoi`e'bcnotra't$on into
Drivcr Scati)ac t

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 47 of 64

Labe| and non-label side of seatbelt is laid out on a
seatbelt evidence board that includes a measuring
tape.

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 48 of 64

THE \/EH|CLE |NTER|OR l\/IUST BE E\/AI_UATED AND COl\/lPARED
TO l\/lEDlCAL E\/lDENCE

A cut on the seatbelt webbing can correspond to a of diagnosing seatbelt
usage by evaluating the bruise or abrasion. l\/lore pronounced belt loading
presence of damage and lack of damage that are like cupping can correspond
to deeper bruises or found inside the vehicle. dust like the absence of
fractures on the occupant

lnjury is important to the forensic pathologist the absence or presence of
damage to vehicle components like the steering whee|, instrument panel.
lower dash_ a-pillar, b-pillar and back of the front seats should also be
evaluated \/\/hen a driver is unrestrained the steering wheel and knee
bolsters are typically deformed and there is hair in the windshield

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 49 of 64

Expansion loops

ln an effort to favorably modify the kinematics of
test dummies in barrier impacts seat belt
assembly designs often incorporate expansion
loops An expansion loop introduces additional
webbing length when a predetermined level of
tension is reached Expansion loops are
composed of webbing that is folded along the short
axis and stitched in place

The thread material and stitch pattern used to make the rows
of stitching is designed to tear at predetermined webbing
tension levels, for instance around 600 to 700 pounds VVhen
the stitches tear, the webbing fold will partially open thereby
introducing additional webbing. Photograph shows the torn
stitches of an expansion loop during a test.

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 50 of 64

Seat Belt Anchors

Seat belt attachments are points where the occupant
restraining forces are transferred from the seat belt assembly
to the vehicle structure lf the webbing does not terminate at a
retractor, then the webbing end is anchored to the vehicle

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 51 of 64

Awarning label, commonly stating “REPLACE BELT," is often
visible after the stitches are torn.

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 52 of 64

 

Rcar bind (`ollision

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 53 of 64

flow whlplash occurs

Motorists involved in rear-end crashes commonly experience whiplash.
injuries to the neck occur as the torso accelerates forward and the neck lags.
then the head whlps forward

I.. During normal driving. 2. As the vehicle is 3. After the initial
the head and torso move struck from behind. impact. the head
relative to the vehicle the head tilts snaps forward

backward .. The torSO
d * rebouhd$-

The torso

Veldcle traveling fmd
Source: insurance institute for Hi¢»way Safety l'im S`imim. ri l`h.~ iii-rri.ii Nm x

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 54 of 64

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 55 of 64

They're designed for rear-seat occupants only
and in the event of a frontal or side impact, will
inflate the belt across a passenger's chest in 40
milliseconds. VVhen expanded the belt cover five
times more surface area of the body than a normal
seat belt, which helps better distribute the forces

of a crash.

 

 

 

 

A_.
6
r.l
O
6
_..O
9
g
a
Di
9
1
/
1
1
/
1
0
d
m
._H
7_
_..O
9
t
n
9
m
U
C
O
D
Vi
G
w_
2
6
A_.
2
»l__
V
p_c
7
,.im
1
9
S
a
C

 

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 57 of 64

Under the multi-disciplinary approach, no one
particular piece of evidence trumps another The
evidence when considered as a whole, is utilized
to help diagnose seatbelt usage or non-usage
When the “Ioop is closed,” the investigator can
accurately say that a person is belted or unbelted
having considered all of the evidence

\_ '.
. \`.i"\ v
n cri/isn rem
"\ d

él),i' ` \'

-_\\v

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 58 of 64

Seat Belt Recalls and l\lotices

/ztrp.'//ii’ii’ii:ira e/'Ca/: gov

tsuzui<i CAMPAlGN

Service Bu|letin

NUMBER: 8039
PAGE: 1 013

 

 

SUBJECT: SAFETV RECALL NOT|CE No. K¥
Driver and Front Passenger Seat Belt Buck|es

MODEL: Certain 2006 and 2007 $uzuki Forenza and Reno Models

Suzuki Motor Corporation has decided to condua a Safety Recal| campaign on certain 2006
and 2007 Suzuki Forenza and Reno vehicles The campaign code is '“K¥.

Affected vehicles were produced with improperly manufactured driver and front passenger
seat belt buckles. it is possible that plastic pieces inside the seat bolt buckle can break off
and remain inside the buckle. The buckle could fall to latch. or could seem to have latched
without latching completely if the buckle does not latch completely the bucklecould release
without pressing the release button These buckle malfunctions which could prevent a
person from using the seat belt or could cause the seat belt to fail to function as designed
can increase the risk of injury in a crash

$uzuki dealers are requested to replace driver and front passenger seat belt buckles Refer
to Forenza/Reno Tochnica| Bu|letin. Restraint TS 04 07277.

1. Affected Vehic|es

Certain 2006-2007Suzuki' Forienza Sedan
KL§JDSSZ 5K234758~KL5JD56Z 7K597150

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 59 of 64

GM recalls 300,000 Impalas over seat belt
problem

Posted' 12:52 pm Fri. O~:tober l§ Z'C=l*f'
B.' Associated l¢ress

¢f!`r _rle n 59 ‘"e ‘r's'. f:‘ \:.' "e*:s ‘c -e 1'~ s

,l'\~eet
DETRO|T - C,ener'al Motor‘s said Friday it was recalling more

than 300.000 Cheviolet impala sedans because the seat belts may fail to restrain
people in the front seats during a crash.

The National Highway Traffic Safety Administr ation said on its websr'te that the
front-seat belt webbing may not be secured pr oper‘l_v to a lap belt anchor on the
side of the seat near the door s.

The recall affects impalas from the 2009 and 2010 model years. GM said 303.100
vehicles are in the United States and more than 19.000 are in Canada.

GM said in a statement that it did not know of any injuries or deaths connected
to the recali. The Detr'oit automaker told NHTSA that it had received 32
warrantv reports with the seat belt conditions through midAugust.

Dealers will inspect how the belts are anchor‘ed. The will r'einstali the anchors if
needed at no cost to the owners.

Owners will be notified later this month and can contact Chevrolet at 1~800»630-
2438.

133 -"‘- o Ee ‘."e ‘rrst c‘~,:.i' "»e”':s ‘.: :>etr“\:

,i-'»? L eli ll ll@} el

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 60 of 64

lMPORTANT SAFETY RECALL NOT|CE

Dear Suzuki O~ner.

This notice is being sent to you in accordance with the requirements of the National
Trach and Motor Vehicle Safety Act.

Suzuki Motor Corporation has decided that a defect which relates to motor vehicle safety
exists in certain 2006 and 2007 Suzuki Forenza and Reno vehicles According to our
records, you own one of the vehicles affected by this recall.

Affected vehicles were produced with improperly manufactured driver and front
passenger seat belt buckles. lt is possible that plastic pieces inside the seat belt
buckle can break off and remain inside the buckle. The buckle could fail to latch,
or could seem to have latched without latching completely. if the buckle does not
latch completely, the buckle could release without pressing the release button.
These buckle malfunctions, which could prevent a person from using the seat
belt or could cause the seat belt to fail to function as designed can increase the
risk of injury in a crash.

Buck|e

To correct this oondition, your Suzuki dealer will replacethe front seat belt buckles on
your vehicle at no cost to you for parts and labor.

 

 

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 61 of 64

CO]HIHOH Pl`Gl)l€lllS

° C`orrosion

° i\/Iaterial obstructing positive latch
° Torsion bar

° Latch locking issues

' Dei`ective W€bbing

' Anchors defective

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 62 of 64

safercar',go\/

 

SAFETV |NFORMATION

i 5-Star Safety Ratings

;Pt‘l F) S»'~f l» `r

\;¢.é

 

SAFFTW RECALl S

Se\rdr br l rod
r':$;;°_:_j c
ChI recomme-

_._._ m l.llr\\,.‘lcz.~.rers -_ ll '.f

Sviwrwi\ouim»¢~

CHlLD SAFET`!' SEAT |NSPECT|ON
STAYK,.N Ll)CATO¢?.

FIM Locl| Chlld Seat H.lp v

mywurlu¢t ‘°

war-ran ii

 

STA`Y CONNE_»CT{C'

=a¢~»-_` ' ¢»j'v--*

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 63 of 64

steering
whurl

rr\fl.itrir

nitrogen gas

crash sensor

 

 

Case 1:17-cv-12462-WGY Document 95-7 Filed 01/11/19 Page 64 of 64

Qucstions‘?‘?‘?‘?‘?‘??

 

